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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
ANSWER TO DEFENDANT’S MOTION TO DISMISS

MOTION TO DENY DEFENDANT’S MOTION TO DIMISS UNDER RULE
2.2 AND 2.15

DELTA HILL (DETA)
Plaintiff Civil Action No. 22-1397-RGA
V

INTERNATIONAL LONGSHOREMEN ASSOCIATION

V. Defendant
G.T. USA
V Defendant

INTERNATIONAL LONGSHOREMEN ASSOCIATION (Secretary Treasurer)
Defendant

Under the LMRDA, US code title 29 sub chapter 7, subsection IV,
subsection 186 restrictions on financial transactions US code a, b

LMRDA Bill of rights: Title 1 — Bill of right of union members
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Our charges were amended, in the amended charges, ever since filing
charges the plaintiff have always given the court cause for filing and the
remedies. In one of attorney Lance Gerren argument, is that the
plaintiff would not suffer any reprehensible harm from the dissolution
of the members who were merged and become an integral part of
1883, 1884 and 1694. That argument that the defendant brought to the
court was without merit and is baseless as the defendant knows very
well that the action of the defendant caused us great harm. (1) In 2018
after coming out of trusteeship that was imposed upon us by
defendant, we the former members of 1694-1 were not made whole ,
so by that we had to take the trustee back to the District Council,
myself, Deta Hill and Stanford Fowler where we filed charges. The
plaintiff, Deta Hill got back her seniority that has been stolen from her
for over thirty years and brother Stanford got equal work, equal pay
and equal benefit which was never applied. The plaintiff got her
seniority but no benefit. The members that were before her went
behind her with the benefits that they had and sister Hill went in her
rightful place but no benefits. Equal work, equal pay, and equal benefit
still not being compensated or made whole after coming out of the
trusteeship. We had our MILA insurance taken away from us that we
got coming out of trusteeship and was given Blue cross Blue Shield
which was less than we had.

2) In 2018, the state leased out the Port of Wilmington to G.T. USA.
When G.T. USA came along, former ILA local 1694-1 members were
terminal workers that did stripping, stuffing and other terminal work on
the Port of Wilmington. As an ILA worker, in 2018 all four locals in the
Port of Wilmington move to a six year contract under G.T.USA who has
become a stevedorian employer. At that time attorney Lance Gerren

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was our attorney. All three locals 1694, 1883 and 1884 got a six year
contract with G.T. USA with all their benefits and all their annuity.
Former ILA 1694-1 was the only local out of all four locals that did not
receive a contract with G.T. USA in 2018. There was an attempt to give
us a six year contract in 2020 but because of the wording between
Lance Gerren and the employer that stated that to fund MILA insurance
all members would have to lose their paid benefits, vacation, annuity
and holiday pay etc. would have gone to pay for MILA if the members
wanted to keep MILA. The members voted down that contract in 2020.
So, we have gotten no benefit from G.T. USA when all other locals have
been made whole with the CBA.

3) In March 2021, through the Secretary Treasurer’s Office the former
members of ILA Local 1694-1 were merged with no fault of ours and
became an integral part of 1694, 1883 and 1884. A hearing was held
and a contract shortly thereafter. On the day of the contract voting,
members that were not a part of former 1694-1 were seen voting on or
about 4:30 pm that evening, and was pointed out to the election
committee in which they voided that ballot and placed it in the box.
That contract itself was illegal and it voided three years of our contract
that should have started 2018-2024 for a six year contract. The contract
was voted upon on May 27, 2022 to take effect on October 1, 2022
which also had a signing bonus which a union that handles commerce
does not take payout under the LMRDA US code title 29 sub chapter7,
subsection iv, subsection 186 restrictions on financial transactions US
code (a), (b).

It is alleged that one of our union member was having a conversation
with G.T. USA counsel in which he said that he and the International
made an agreement to sign that contract to have former local 1694-1

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members become G.T. USA workers. We were never G.T. USA workers
from the beginning as we were told from when we were filling out the
application form not to put on our file that we were G.T. USA workers
but we should instead put that we are ILA workers. We knew that we
could never be G.T. USA workers. Now that G.T. USA have lost their
contract with the state and is no longer a part of the Port of Wilmington
we have not gotten any annuity or other benefits from G.T. USA unlike
the other three locals which have gotten a six year contract which will
expire in 2024.

See all the charges and exhibits of our original charges.

Remedy

1. We the members of former 1694-1 would like to be made whole
by compensating us all the benefits that were lost with interest.

2. We would like to go back to the original merger that occurred on
March 16, 2021.

3. We the members of former 1694-1 would like to get our benefits,
annuity, vacation, holiday pay and pay rate grandfathered in from
2018 — 2024.

4. Hold G.T. USA accountable for retirement package and lack of
benefit thereof since 2018.

DML blk

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